       Case 2:17-cr-01923-RB         Document 87        Filed 10/24/17     Page 1 of 11




                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                                No. CR 17-1923 RB

JOHN LEROY MILNE and

MANUEL PAVON-RODRIGUEZ,

               Defendants.


                            MEMORANDUM OPINION AND ORDER

       This matter is before the Court on the government’s motion for a ruling of admissibility

on the offered testimony of DEA Special Agent Joseph Montoya, as well as Defendant Manuel

Pavon-Rodriguez’s motion to exclude or limit the testimony of Agent Montoya. After reviewing

the facts, the legal standards, and the submissions of the parties, the Court will permit Agent

Montoya to testify as an expert only about certain topics, enumerated below.

                                            FACTS

       On June 23, 2017, Border Patrol agents arrested Defendants John Leroy Milne and

Manuel Pavon-Rodriguez. Mr. Milne had been driving a Ford Explorer (Explorer) containing

several burlap backpacks filled with about 111.8 kilograms of marijuana. Mr. Pavon-Rodriguez,

an undocumented alien, was hiding in the Explorer.

       The government has charged Mr. Milne and Mr. Pavon-Rodriguez with conspiracy to

distribute marijuana and possession with intent to distribute marijuana. (Doc. 13 at 1–2.) As part

of its case, the government plans to call DEA Special Agent Joseph Montoya. (Doc. 46 at 1.) The
        Case 2:17-cr-01923-RB          Document 87        Filed 10/24/17      Page 2 of 11




government contends that Agent Montoya’s testimony is relevant and admissible under Federal

Rule of Evidence 702, which allows opinion testimony by witnesses qualified as experts. (Id.)

       The following are Agent Montoya’s relevant credentials, according to the government:

       Agent Montoya has been a DEA Special Agent since 1999, during which time he
       has specialized in investigations involving drug trafficking. Agent Montoya has
       received specialized training on the subject of drug trafficking from the DEA, and
       he has personally [been] involved [in] over 500 investigations involving the
       possession, manufacture, distribution, and importation of controlled substances . .
       . . Agent Montoya has also been involved in more than 2000 undercover
       operations as a transporter/courier, facilitator, seller, or purchaser of controlled
       substances.
               ...
       Agent Montoya has approximately 15 years of field experience conducting
       physical surveillance, interviewing witnesses, including confidential sources and
       cooperating defendants, writing affidavits for and executing search warrants,
       working with undercover agents and informants, analyzing phone and financial
       records, and conducting wiretap investigations.
               ...
       Through informant interviews of individuals involved in drug trafficking, through
       undercover operations, and through participation in drug trafficking
       investigations, Agent Montoya has learned about the manner in which individuals
       and organizations package, conceal, transport, and distribute controlled
       substances in New Mexico and throughout the United States, and the
       transportation of controlled substances. Agent Montoya also has become familiar
       with the appearance and street names of various drugs, including marijuana. He
       also knows the street value of marijuana and the difference between distributable
       quantities of marijuana and personal use quantities of marijuana.

(Id. at 1–2.) On the basis of this background, the United States plans to have Agent Montoya

testify about his training and experience investigating drug trafficking cases, as well as:

       (1) the common ways in which drug distributors import narcotics from Mexico
       into the United States, and then transport and distribute the narcotics in New
       Mexico, and elsewhere; (2) the meaning of the word “bales,” in reference to
       marijuana . . . (3) different roles within drug organizations, specifically focusing
       on couriers and backpackers; (4) that backpacks are “tools of the trade” for drug
       traffickers . . . (5) the common ways in which drug trafficking organizations
       export drugs from [] Mexico into the United States . . . (6) the monetary wholesale
       and street value of the marijuana seized in this case; and (7) that the amount and
       value of the marijuana seized in this case is consistent with the intent to distribute
       marijuana rather than personal use. Agent Montoya also will testify concerning
       the significance of various routes taken by the drug traffickers.

                                                  2
        Case 2:17-cr-01923-RB         Document 87        Filed 10/24/17      Page 3 of 11




(Doc. 60 at 9.)

       Mr. Pavon-Rodriguez objects to the proposed testimony by Agent Montoya and

asks the Court limit or exclude Agent Montoya’s testimony.

                                      LEGAL STANDARD

       Federal Rule of Evidence 702 allows a witness who qualifies as an expert by virtue of his

“knowledge, skill, experience, training, or education” to testify in the form of an opinion if (1)

the witness’s specialized knowledge will help the trier of fact understand the evidence or

determine a fact in issue, (2) the testimony is based on sufficient facts or data, (3) the testimony

is based on reliable principles and methods, and (4) the witness has reliably applied the

principles and methods to the facts of the case. See Fed. R. Evid. 702.

       The Supreme Court has tasked district courts with a gatekeeping function under Rule 702

to ensure that all “scientific testimony or evidence admitted” is both reliable and relevant. See

Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589 (1993). This gatekeeping function not

only applies to scientific testimony or evidence, but also to any testimony based on technical and

other specialized knowledge. See Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 141 (1999).

       In Daubert, the Supreme Court offered four factors to consider in determining whether

expert testimony is sufficiently reliable: (1) whether the theory at issue is testable, (2) whether

the theory has been subjected to peer review and publication, (3) whether there is a known or

potential error rate, and (4) whether the theory has been generally accepted by the relevant

scientific community. See Daubert, 509 U.S. at 593–94. The four Daubert reliability factors are

not exclusive, and the district court has broad discretion “to determine reliability in light of the

particular facts and circumstances of the particular case.” Kumho Tire Co., 526 U.S. at 158. In

certain circumstances, the Daubert reliability factors may be inapposite for assessing reliability,

                                                 3
        Case 2:17-cr-01923-RB         Document 87       Filed 10/24/17      Page 4 of 11




“depending on the nature of the issue, the expert’s particular expertise, and the subject of his

testimony.” See United States v. Garza, 566 F.3d 1194, 1199 (10th Cir. 2009). In those cases

where the Daubert reliability factors are ill-fitting, the Court may certify witnesses as experts

even if they fail to meet any of the four Daubert reliability factors, as long as the Court

determines through other methods that the witness’s testimony is sufficiently reliable. See id. In

applying the above principles, the Tenth Circuit has “routinely upheld the admission of expert

testimony from law enforcement officers seeking to identify for the jury typical indicia of drug

trafficking activity.” See United States v. Lovern, 590 F.3d 1095, 1102 (10th Cir. 2009)

(emphasis added).

        As part of its gatekeeping function, the Court must also inspect expert testimony and

evidence for relevancy. See Daubert, 509 U.S. at 589. To determine relevancy, the Court must

ensure that the offered testimony will “help the trier of fact understand the evidence or determine

a fact in issue.” See id. at 591 (explaining that Rule 702’s condition that the evidence or

testimony “assist the trier of fact” goes primarily to relevance). In assessing whether evidence

“helps the trier of fact,” the Court may consider many factors, including whether the testimony is

already “within the juror’s common knowledge and experience,” and “whether [the testimony]

will usurp the juror’s role of evaluating a witness’s credibility.” See United States v. Rodriguez-

Felix, 450 F.3d 1117, 1123 (10th Cir. 2006).

                                        APPLICATION

   I.      Reliability

        Mr. Pavon-Rodriguez mentions that Agent Montoya’s opinions do not satisfy the four

Daubert reliability factors. (See Doc. 48 at 5.) But Mr. Pavon-Rodriguez concedes that the Tenth




                                                4
        Case 2:17-cr-01923-RB          Document 87        Filed 10/24/17   Page 5 of 11




Circuit “routinely allow[s] testimony by drug enforcement officers as to relevant indicia of drug

trafficking activity.” (See id. (citing Lovern, 590 F.3d at 1102).)

        The Tenth Circuit has also previously rejected an argument similar to the one Mr. Pavon-

Rodriguez advances. In United States v. Garza, the prosecution’s expert, Officer Steven Sanders,

testified about the connection between the defendant’s gun and the drug trafficking crime for

which the defendant was being accused. See Garza, 566 F.3d at 1197–98. The defendant there

complained that Officer Sanders’s testimony did not satisfy the four Daubert reliability factors.

See id. at 1199. Noting that Officer Sanders could have acquired the requisite specialized

knowledge through experience and training, the Tenth Circuit ruled against the defendant, saying

that it was not essential that Officer Sanders’s opinion be supported by the four Daubert

reliability factors. See id.

        Similarly, the government’s proffered expert here would demonstrate his reliability not

through the four Daubert reliability factors, but through proving that he acquired specialized

knowledge from training and experience. And the government has offered ample proof of Agent

Montoya’s training and experience in his proposed field of testimony. In light of Agent

Montoya’s training and experience, and given the fact that Tenth Circuit courts have “routinely

upheld the admission of expert testimony from law enforcement officers seeking to identify for

the jury typical indicia of drug trafficking activity,” see Lovern, 590 F.3d at 1102 (emphasis

added), the Court finds that Agent Montoya’s opinion would be reliable regarding the following

topics proposed by the government:

       The process of bringing narcotics into the United States in which backpackers carry drugs

        to a destination for pickup by couriers.

       The role of backpackers and couriers within a drug organization.


                                                   5
         Case 2:17-cr-01923-RB          Document 87        Filed 10/24/17   Page 6 of 11




        That backpacks are “tools of the trade” for drug traffickers.

        How illegal narcotics are typically packaged.

        The amount and value of the drugs seized.

        The routes chosen for drug smuggling and why those routes are chosen—focusing on

         Highway 80.

         On the other hand, the Court is skeptical that Agent Montoya’s training or experience

could give him specialized knowledge about the meaning of the word “bales.” During the

hearing on this issue, the Court voiced its doubt about Agent Montoya’s ability to base his

opinion about the meaning of the word “bales” on a sufficiently large sample size of prior

experiences. In response, the government declined to defend Agent Montoya’s expertise

concerning the meaning of the word “bales.” Consequently, the Court finds that Agent

Montoya’s opinion as to the meaning of the word “bales” is unreliable, and the government may

not introduce such testimony.

   II.      Relevance

         As part of its gatekeeper role, the Court must also assess whether proposed expert

testimony would be relevant.

        Testimony about the process of bringing narcotics into the United States in which
         backpackers carry drugs to a destination for pickup by couriers, and
        Testimony about the role of backpackers and couriers within a drug organization, and
        Testimony about the routes chosen for drug smuggling and why those routes are
         chosen—focusing on Highway 80.

         Mr. Pavon-Rodriguez claims the proposed testimony above is irrelevant because it does

not help the jury decide the critical issue of whether he is a smuggler. (Doc. 48 at 7–8.) But Mr.

Pavon-Rodriguez seems to hold the mistaken belief that only direct evidence can prove guilt.

Testimony regarding the route that drug smugglers commonly take could bear on Mr. Pavon-


                                                  6
       Case 2:17-cr-01923-RB         Document 87        Filed 10/24/17         Page 7 of 11




Rodriguez’s intent to transport drugs: that Mr. Pavon-Rodriguez was traveling on a path

commonly taken by drug smugglers is circumstantial evidence that Mr. Pavon-Rodriguez is a

drug smuggler. Additionally, testimony regarding the process by which drugs are brought into

the United States and the roles that backpackers and couriers play in such a scheme is relevant

because it could provide the jury with the background necessary to infer that Mr. Pavon-

Rodriguez was not involved by accident. The proposed testimony above could certainly assist the

jury in determining contested issues or understanding the evidence.

      Testimony that backpacks are tools of the trade for drug traffickers.

       Mr. Pavon-Rodriguez argues that the fact that drug smugglers use backpacks to carry

marijuana is self-evident and uncontroverted. He says what matters is whether he carried one of

those backpacks. But absent a stipulation, the fact that drug smugglers use backpacks to carry

marijuana is something the government must prove, no matter how obvious it may seem to Mr.

Pavon-Rodriguez. And, as the government points out, “[t]he knowledge that marijuana

smugglers use ‘backpackers’ (people walking through the desert carrying homemade backpacks

filled with marijuana into the United States) is not so widespread among the general public as to

preclude expert testimony regarding backpacks and backpackers.” (Doc. 60 at 6–7.) The Tenth

Circuit has explained that the “average juror is often innocent of the ways of the criminal

underworld,” see United States v. Kamahele, 748 F.3d 984, 998 (10th Cir. 2014), so the proposed

testimony could provide the jury with necessary background information.

       Furthermore, testimony that marijuana smugglers often use homemade backpacks like the

ones found can also help the jury determine the issue of whether Mr. Pavon-Rodriguez is a

smuggler: if the jury infers from the testimony that the backpacks were for smuggling drugs, then

the jury could reasonably infer from the fact that the backpacks were found with Mr. Pavon-



                                                7
        Case 2:17-cr-01923-RB         Document 87        Filed 10/24/17      Page 8 of 11




Rodriguez that Mr. Pavon-Rodriguez was smuggling drugs. This probative inference is

unchanged by the fact that Mr. Pavon-Rodriguez does not dispute the backpacks’ intended use.

      Testimony about how illegal narcotics are typically packaged.

       Mr. Pavon-Rodriguez argues that introduction of expert testimony into how smugglers

wrap marijuana is unfairly prejudicial evidence of guilt by association: drug smugglers from

Mexico always wrap marijuana; the marijuana here was wrapped; the defendant is from Mexico;

therefore the defendant wrapped the marijuana. (See Doc. 48 at 6.)

       But the government is only trying to show that the marijuana was packaged for

smuggling. The guilty association here is not between Mr. Pavon-Rodriguez and Mexico, but

rather Mr. Pavon-Rodriguez and the packaged marijuana. That association is circumstantial

evidence that could help a juror infer that Mr. Pavon-Rodriguez was involved in smuggling

marijuana.

      Testimony about the amount and value of the drugs seized.

       Arguing that “even a blind man can see that hundreds of pounds are for distribution, not

personal use,” Mr. Pavon-Rodriguez objects to the testimony regarding the amount of marijuana

seized. (Doc. 48 at 6–7.) According to Mr. Pavon-Rodriguez, what is in dispute is not whether

the marijuana was for distribution, but whether he intended to distribute the marijuana. Similarly,

Mr. Pavon-Rodriguez argues that the value of the marijuana is irrelevant, and that “illogical is

any inference that, because marijuana is expensive, the smugglers would not have allowed

undocumented aliens to carry a backpack.” (Id. at 7.) He also adds that it is prejudicial to think

that because marijuana is expensive, he must be guilty as a principle or accessory. (Id.)

       Mr. Pavon-Rodriguez does not need to worry about inferences that because marijuana is

expensive, the smugglers would not allow undocumented aliens to carry a backpack—the


                                                 8
          Case 2:17-cr-01923-RB        Document 87       Filed 10/24/17      Page 9 of 11




government is actually trying to elicit the opposite inference: because the marijuana is expensive,

the smugglers would only have allowed people involved in the operation to come into contact

with the drugs. This implies that Mr. Pavon-Rodriguez, an undocumented alien, knew about the

drugs and was a part of the smuggling operation. And the government does not appear to be

arguing that because marijuana is expensive, then Mr. Pavon-Rodriguez must be guilty as a

principle or accessory.

          Instead, the government’s proposed testimony regarding the weight and value is relevant

because it shows that the marijuana was meant to be distributed and that Mr. Pavon-Rodriguez

had knowledge of the presence of drugs. Again, absent a stipulation, the government still must

prove to the jury that the marijuana was for distribution, not personal use. The government may

elect to meet its burden of proof by showing that the amount and value of marijuana is consistent

with distribution. Additionally, “the Tenth Circuit has recognized that the value of drugs is

relevant to the issue of a defendant’s knowledge of the presence of the drugs within the vehicle

when the defendant claims to be unaware of the presence of drugs.” United States v. Rodriguez,

192 F.3d 946, 949 (10th Cir. 1999). Since Mr. Pavon-Rodriguez has denied knowing about the

marijuana in the Explorer, (see Doc. 48, Ex. 6), the value of the drugs can help the jury to decide

a disputed issue.

   III.      Final Inferences

          Mr. Pavon-Rodriguez also asks the Court to prevent Agent Montoya from providing the

final inferential step characterizing the role that he may have played in any crime. (Doc. 48 at 8.)

The Court will grant Mr. Pavon-Rodriguez’s request here. As part of its assessment of whether

testimony will “help a trier of fact,” the Court may consider whether the testimony is already

“within the juror’s common knowledge and experience.” See Rodriguez-Felix, 450 F.3d at 1123.



                                                 9
       Case 2:17-cr-01923-RB          Document 87        Filed 10/24/17      Page 10 of 11




An expert’s job is to “help the trier of fact understand the evidence or determine a fact in issue,”

Fed. R. Evid. 702, not to determine the facts in issue for the jury. It would be inappropriate for an

expert, knighted with the imprimatur of an expert by the Court, to give an opinion for the jury

when the jury could form the opinion based on the evidence and the jury’s common knowledge

and experience. To allow Agent Montoya to make the final inferential step for the jury in those

cases would be to allow him to improperly usurp the jury’s role. See United States v. Brown, 776

F.2d 397, 401 (2nd Cir. 1985) (“there is something rather offensive in allowing an investigating

officer to testify not simply that a certain pattern of conduct is often found in narcotics cases,

leaving it for the jury to determine whether the defendant’s conduct fits the pattern, but also that

such conduct fitted the pattern.”); see also United States v. Diaz, 878 F.2d 608, 617 (2nd Cir.

1989) (expressing “concern about allowing expert witnesses to provide outright characterizations

of the role of individual defendants in narcotics transactions.”).

       In this case, after Agent Montoya lays the foundation with his testimony, a jury would

have the requisite knowledge and experience to interpret the evidence and make any necessary

inferences. Agent Montoya may not take the final inferential step for the jury. For example,

although Agent Montoya may testify that the packaging of the marijuana was consistent with

marijuana that was intended to be distributed, Agent Montoya may not then opine that Mr.

Pavon-Rodriguez was going to distribute the marijuana. The jury has the common knowledge

and experience to take that inferential step itself, if it wishes. As another example, although

Agent Montoya may testify about the value of the marijuana since the value is relevant to

whether Mr. Pavon-Rodriguez knew about the presence of the marijuana, Agent Montoya may

not then make the inferential step for the jury and conclude that, because of the value of the




                                                 10
        Case 2:17-cr-01923-RB          Document 87         Filed 10/24/17   Page 11 of 11




drugs, Mr. Pavon-Rodriguez knew about the drugs. The jury has the ability to make that

inference itself, if it wishes.

                                           CONCLUSION

        For the reasons provided above, the Court rules that DEA Special Agent Joseph Montoya

may testify as an expert under Rule 702 regarding the following:

       The process of bringing narcotics into the United States in which backpackers carry drugs

        to a destination for pickup by couriers.

       The role of backpackers and couriers within a drug organization.

       That backpacks are “tools of the trade” for drug traffickers.

       How illegal narcotics are typically packaged.

       The amount and value of the drugs seized.

       The routes chosen for drug smuggling and why those routes are chosen—focusing on

        Highway 80.

        After providing the above testimony, Agent Montoya may not take the inferential step

characterizing a defendant’s role or making an ultimate conclusion for the jury. In this case, the

jury has the requisite common knowledge and experience to make the final inferences itself, and

Agent Montoya’s job is simply to “help the trier of fact understand the evidence or determine a

fact in issue,” not to determine the facts in issue for the jury.



                                                        ____________________________________
                                                        ROBERT C. BRACK
                                                        UNITED STATES DISTRICT JUDGE




                                                   11
